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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 Solar Sky Construction Company, et al
             Plaintiffs,
 vs.                                                              Case No. 18-31

 Dover Vantage, Inc., et al.                           Motion for Default Judgment as to
                                                       Dover Vantage, Inc., David Pollack,
                                                          MAG Services Group, and
                Defendants.                                    Micheline Pollack



       Plaintiff Solar Sky Construction Company respectfully moves that the Court enter a

default judgment in the amount of $817,780.00 plus pre- and post-judgment interest as to Dover

Vantage, Inc.; David Pollack; MAG Services Group; and Micheline Pollack in the above-

captioned matter. In support of this motion, Solar Sky Construction Co. submits the attached

Memorandum with supporting exhibits, the DECLARATION OF JOSEPH HENNESSEY IN SUPPORT OF

MOTION FOR DEFAULT JUDGMENT AS TO DOVER VANTAGE, INC., DAVID POLLACK, MAG

SERVICES GROUP, AND MICHELINE POLLACK; the DECLARATION OF AHMADULLAH WAZIRY IN

SUPPORT OF MOTION FOR DEFAULT JUDGMENT AS TO DOVER VANTAGE, INC., DAVID POLLACK,

MAG SERVICES GROUP, AND MICHELINE POLLACK, with supporting documents, and a PROPOSED

ORDER OF DEFAULT JUDGEMENT.

       Respectfully submitted this May 16, 2018.

                                            /s/ Joseph A. Hennessey
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